     Case 3:20-cv-00616-X-BN Document 9 Filed 11/06/20      Page 1 of 1 PageID 43



                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

SEVILLE AT BELLMAR,                       §
                                          §
              Plaintiff,                  §
                                          §
V.                                        §           No. 3:20-cv-616-X
                                          §
ALLISON SHERELL THOMAS and                §
SATCHER MATTHEW,                          §
                                          §
              Defendants.                 §

          ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
     RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

        The United States Magistrate Judge made findings, conclusions, and a

recommendation in this case [Doc. No. 8]. No objections were filed. The District Court

reviewed the proposed findings, conclusions, and recommendation for plain error.

Finding     none,   the    Court   ACCEPTS      the   Findings,   Conclusions,    and

Recommendation of the United States Magistrate Judge.



        SO ORDERED this 6th day of November, 2020.




                                              BRANTLEY STARR
                                              UNITED STATES DISTRICT JUDGE
